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 8 Denis O’Leary, Veronica Robles-Solis, and
   Monica Madrigal Lopez
 9
                            UNITED STATES DISTRICT COURT
10
                          CENTRAL DISTRICT OF CALIFORNIA
11
   J.R., a minor, by and through her          ) Case No.: 2:17-cv-04304-JAK-FFM
12 guardian ad litem, Janelle McCammack;
   M.B., a minor, by and through her          )
13 guardian ad litem, F.B.; I.G., a minor, by )
   and through his guardian ad litem, M.E., ) DEFENDANTS’ REPLY TO
14 on behalf of themselves and all those        PLAINTIFFS’ OPPOSITION TO
   similarly situated,                        )
                                                NOTICE OF MOTION AND MOTION
15                                            )
                               Plaintiffs,      TO DISMISS PLAINTIFFS’ THIRD
16                                            )
                       v.                       AMENDED COMPLAINT
                                              )
17 OXNARD SCHOOL DISTRICT;                      PURSUANT TO FED. R. CIV. P.
                                              )
   CESAR MORALES, Superintendent of ) 12(b)(1) OR IN THE ALTERNATIVE
18 Oxnard School District, in his official      12(b)(6); MEMORANDUM OF
   capacity; ERNEST MORRISON,                 )
19 President of the Board of Trustees, in his ) POINTS AND AUTHORITIES IN
   official capacity; DEBRA CORDES,             SUPPORT THEREOF
20 Clerk of the Board of Trustees, in her     )
   official capacity; DENIS O’LEARY,          )
21 Trustee of the Board of Trustees, in his     [Request for Judicial Notice Filed
                                              )
   official capacity; VERONICA ROBLES-          Concurrently]
22 SOLIS, Trustee of the Board of Trustees, )
   in her official capacity; MONICA           )
23 MADRIGAL LOPEZ, Trustee of the               Date: February 4, 2019
                                              )
   Board of Trustees, in her official           Time: 8:30 a.m.
24 capacity; and DOES 1 TO 10, inclusive ) Court: 10B
                                              )
25                                                      First Street Courthouse
                               Defendants. )
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 1      I.      INTRODUCTION
 2           Plaintiffs’ third amended complaint (“TAC”), like their second amended complaint
 3   (“SAC”), fails to plead facts showing that F.S., I.H., W.H., I.B., and Primero Los Ninos
 4   (“PLN”), (collectively, “class representatives”) possess Article III standing to assert
 5   claims on behalf of the class.
 6           Plaintiffs’ TAC did not amend the class definition or their claim for class-wide
 7   injunctive relief. Plaintiffs again seek an injunction against the Oxnard School District’s
 8   (“the District”) child find policies. Plaintiffs also define their class as students “who have
 9   or may have disabilities” and who “have been or will be subject to the District’s” child
10   find policies. Rather than amend their class definition or their claim for class-wide relief,
11   Plaintiffs’ new allegations contest the appropriateness of F.S., I.H., W.H., and I.B.’s
12   respective assessment. Specifically, Plaintiffs allege that the District failed to fully “find”
13   F.S., I.H., W.H., and I.B. because it failed to assess them for all known or suspected
14   disabilities.
15           To properly assert Article III standing, class representatives must allege that they
16   suffer or will suffer an imminent injury. However, Plaintiffs’ TAC concedes that F.S.,
17   I.H., W.H., and I.B. have all been identified, located, and assessed by the District. F.S.,
18   I.H., W.H., and I.B. cannot show an imminent injury or that the District’s child find
19   policies will harm them again in the future. Plaintiffs’ allegations that the District failed
20   to fully assess F.S., I.H., W.H., and I.B. do nothing to fix Plaintiffs’ justiciability
21   problem. These allegations do not allege that they will suffer future harm due to the
22   District’s child find policies. Accordingly, F.S., I.H., W.H., and I.B., lack Article III
23   standing to assert the class claims.
24           PLN also lacks Article III standing to serve as a class representative. The TAC
25   fails to allege facts to indicate that PLN suffered a direct injury due to the District’s child
26   find policies. For instance, the TAC does not include allegations that PLN suffered a
27   diversion of resources or a loss of funding because the District failed to timely identify,
28   locate, and assess its students. PLN has no direct standing to assert the class claims.

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 1            PLN also lacks standing to serve as a class representative on behalf of its members.
 2   The TAC fails to allege facts showing that PLN can meet the first and third elements of
 3   Hunt, 432 U.S. 333 (1977). Indeed, Plaintiffs fail to identify any member of PLN who
 4   has not been located, identified, and assessed. Plaintiffs’ new allegations contesting the
 5   appropriateness of the District’s assessments also require the participation of PLN’s
 6   individual class members. Accordingly, PLN cannot serve as class representatives on
 7   behalf of its members.
 8            Finally, and in the alternative, Plaintiffs’ TAC fails to allege facts upon which class
 9   wide injunctive relief may be granted. Plaintiffs’ new allegations regarding the
10   appropriateness of District assessments necessarily requires the application of the
11   “snapshot rule.” This rule mandates a review of each student’s assessment based on
12   information reasonably available to parties at the time of each student’s IEP meeting.
13   Accordingly, these allegations cannot be addressed by a single injunction that provides a
14   common answer to the resolution of Plaintiffs’ class claims.
15      II.        STATEMENT OF FACTS
16            A.     The third amended complaint does not change Plaintiffs’ class
17                   definition or the District policy they seek to challenge.
18            The TAC does not amend Plaintiffs’ class definition. Once again, Plaintiffs define
19   their class as:
20            “All students in Oxnard School District who have or may have disabilities
21            and who have been or will be subject to the District’s policies and
22            procedures regarding identification and evaluation of students for purposes
23            of providing services or accommodations under the Individuals with
24            Disabilities Education Act, Section 504 of the Rehabilitation Act and/or the
25            Americans with Disabilities Act.”
26   Dkt. 145, TAC, ¶ 198. Plaintiffs’ TAC does not further define the alleged class or
27   otherwise define any subclass of Plaintiffs.
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 1         Plaintiffs also failed to amend the District policies they seek to challenge. Plaintiffs
 2   once again plead that the District “systemically fails to meet” its child find requirements.
 3   Dkt. 145, TAC, ¶¶ 3-4. Plaintiffs re-allege that the District (1) has a “standard policy” to
 4   not evaluate or assess its special needs students, (2) relies on an alternative informal
 5   Student Success Team (“SST”) process to discuss a student’s lack of progress, (3) and
 6   conducts SST meetings rather than assessments. Plaintiffs further claim that the SST
 7   meetings result in little or no special education services or “empty referrals” that put the
 8   onus on parents to secure and pay for their children’s special education services. Dkt.
 9   145, TAC, ¶ 4.
10         Plaintiffs’ request for injunctive relief is therefore limited to a challenge to the
11   District’s child find policies, rather than a challenge to the appropriateness of special
12   education services for each student.
13         On May 9, 2018, at the hearing on Plaintiffs’ first Motion for Class Certification,
14   the Court recognized this distinction by stating:
15         “The proposed class concerns students who have or may have disabilities
16         who have been or will be subjected to the policies and procedures of the
17         district regarding identification and evaluation for purposes of providing
18         services and accommodations. It is not about whether the services and
19         accommodations that are provided following an administrative process are
20         adequate.”
21   Dkt. 176, Def. Request for Judicial Notice In Support of Defs. Reply to Pls.’ Opp’n,
22   (hereinafter, “Request for Judicial Notice”), Ex. A., May 9, 2018 Transcript of Hearing re
23   Plaintiffs Motion for Class Certification (“May 9, 2018 Transcript”) 10:18-15 (emphasis
24   added). Plaintiff’s counsel immediately responded, “It’s true.” Dkt. 176, Request for
25   Judicial Notice, Ex. A., May 9, 2018 Transcript 10:16.
26         Accordingly, there is not dispute that the class definition and the challenged policy
27   in Plaintiffs’ TAC limit their class claims to the issue of whether the District is properly
28   locating, evaluating, and assessing students with known or suspected disabilities. See

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 1   Dkt. 128 June 6, 2018 Order Denying Plaintiffs Motion for Class Certification, p. 9, n. 2
 2   (hereinafter “June 6 Order”).
 3         B.     Plaintiffs’ opposition to Defendants’ motion to dismiss repeats
 4                arguments that Plaintiffs previously asserted and that the District Court
 5                rejected on Plaintiffs’ first motion for class certification.
 6         At the May 9, 2018 hearing on Plaintiffs’ initial motion for class certification,
 7   Plaintiffs’ presented two principal standing arguments. First, Plaintiffs argued that the
 8   proposed class representatives at that time, I.G. and M.B., had standing to seek injunctive
 9   relief on behalf of the class because the District failed for years to identify them. Dkt.
10   176, Request for Judicial Notice, Ex. A., May 9, 2018 Transcript 6:13-20. Second,
11   Plaintiffs argued that I.G. and M.B. had standing because their individual injuries
12   allegedly stemmed from the District’s flawed child find system. Dkt. 176, Request for
13   Judicial Notice, Ex. A., May 9, 2018 Transcript 8:9-19.
14         The court rejected these arguments, holding that M.B. and I.G.’s claims were
15   injuries individual to them rather than injuries to the class. Dkt. 176, Request for Judicial
16   Notice, Ex. A., May 9, 2018 Transcript 13:22-14:4; Dkt. 128 June 6 Order, p. 9, n. 2.
17   Plaintiffs’ counsel agreed with the court on this point, stating “The individual remedies
18   (on appeal for M.B. and I.G.) are unique to each student.” Dkt. 176, Request for Judicial
19   Notice, Ex. A., May 9, 2018 Transcript 13:22-14:4.
20         This notwithstanding, Plaintiffs recycle their arguments in their Opposition to
21   Defendants’ current motion to dismiss. Specifically, Plaintiffs once again argue that the
22   proposed class representatives have standing to assert class claims because (1) their
23   injuries were previously unidentified for years and (2) their alleged injuries are a
24   “consequence” of the District’s “systemic child find failure.” Dkt. 168, Pls.’ Opp’n to
25   Defs. Mot. to Dismiss, 11:3-10 and n. 4-5.
26         Plaintiffs’ opposition also includes the novel but equally unsuccessful argument
27   that they have standing because they have not been “fully found” due to the District
28   failing to assess them in all areas of known or suspected disabilities.

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 1         As discussed in Argument section III B below, each argument fails to confer the
 2   class representatives with standing to assert claims on behalf of the defined class.
 3         C.     The District Court gave Plaintiffs’ specific instructions regarding
 4                amending their complaint to overcome their justiciability problems.
 5         During the May 9, 2018 hearing and in its subsequent order, the Court advised
 6   Plaintiffs on possible ways to amend their complaint to meet Article III standing. For
 7   instance, if Plaintiffs would have named class representatives whose administrative
 8   remedies had not been granted, not yet been determined, or were denied remedies, then
 9   Plaintiffs could potentially have standing to assert the class claims. Dkt. 176, Request for
10   Judicial Notice, Ex. A., May 9, 2018 Transcript 6:3-10.
11         Moreover, in its June 6, 2018 order, the Court also identified as potential class
12   representatives students who qualify for special education services but who had not yet
13   been identified, located, and assessed by the District and who lost their case at the
14   administrative level. See Dkt. 128, June 6, 2018 Order, p. 10 (discussing and
15   distinguishing the case D.L. v. District of Columbia, 450 F. Supp. 2d 11 13-14 (D.D.C.
16   2006).)
17         The Court also advised Plaintiffs that they should address distinctions among class
18   members “including whether their alleged injuries arise from a delay in special education
19   assessments or the failure to provide one.” See Dkt. 128, June 6, 2018 Order, p. 10.
20         Rather than comply with the Court’s directives, Plaintiffs added new class
21   representatives in the TAC who, like the class representatives previously identified in the
22   SAC, have all been located, identified, and assessed.
23         D.     Despite multiple assurances that they would do so, Plaintiffs failed to
24                name one class representative who qualified for special education
25                services but whom the District failed to locate, identify, or assess.
26         In their prior motion for class certification, Plaintiffs estimated that the District
27   failed to identify, locate, and assess approximately 200 students. See Dkt. 128, June 6,
28   2018 Order, June 6, 2018 p. 10. This court also found that there were at least 40 members

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 1   of the proposed class who had yet to be “found”, including students identified by one of
 2   Plaintiffs’ declaring witnesses. Id.
 3         At the May 9, 2018 hearing, Plaintiffs’ counsel assured the Court that Plaintiffs
 4   “can absolutely” amend the complaint to include unidentified class representatives whose
 5   administrative remedies have not been granted. Dkt. 176, Request for Judicial Notice,
 6   Ex. A., May 9, 2018 Transcript 6:3-10. Indeed, Plaintiffs’ counsel stated, “If standing
 7   continues to be a concern for the court, that (they) absolutely will go out and get
 8   additional Plaintiffs to add to this case.” Id. at 11:23-12:1.
 9         E.     Naming Primero Los Ninos as a class representative fails to cure
10                Plaintiffs’ justiciability problem apparent on the face of their third
11                amended complaint.
12         Rather than name one of the 200 students Plaintiffs’ alleged the District had yet to
13   find, Plaintiffs attempted to overcome their justiciability problem, in part, by adding
14   membership association PLN as a class representative.
15         Plaintiffs allege that PLN was formed “to help parents of children with disabilities
16   and/or difficulties learning English understand their rights and how to advocate for their
17   children in light of the District’s failure to address the needs of such students.” Dkt. 145,
18   TAC, ¶ 17. PLN has allegedly assisted these parents by:
19          (1)   Providing them with “educational information about their rights;”
20         (2)    Providing them with information regarding “procedures for filing
21                complaints on a variety of issues, including special education,
22                language access and school conditions;”
23         (3)    Educating them about “their rights to have their children assessed for
24                appropriate disability-based services;”
25         (4)    Educating them about “the procedures for challenging the District’s
26                failure to conduct… assessments.”
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 1   Dkt. 145, TAC, ¶ 186; See also Dkt. 163, Declaration of Claudia Mercado filed In
 2   Support of Plaintiffs’ Motion for Class Certification. (hereinafter “Mercado
 3   Decl.”), ¶¶ 4 and 12.
 4           Plaintiffs define PLN’s “mission” as “ensuring that children in the District have
 5   appropriate educational services.” Dkt. 145, TAC, ¶ 185; Dkt. 163, Mercado Decl., ¶ 11.
 6   Plaintiffs allege that, as part of its mission, PLN:
 7           (1)   Spends a “significant amount of time and resources” responding to
 8                 “questions and complaints and seeking out referrals and options for
 9                 advocacy regarding the District’s failure to identify and serve the needs of
10                 children with disabilities;”
11           (2)   Spends “considerable time” issuing public records requests to obtain
12                 information to “identify relevant data and other public information
13                 needed to assess the effectiveness of the District’s policies and
14                 practices regarding its special education program” including policies
15                 and practices related to child find and;
16           (3)   Hosts events to connect “advocates” with parents “whose children need
17                 special education services and have been unable to secure special education
18                 assessments from the District.”
19   Dkt. 145, TAC, ¶¶ 186-189; Dkt. 163, Mercado Decl., ¶ 13-15.
20           Plaintiffs then conclude that the District’s policy of “failing to timely identify and
21   thoroughly evaluate” students with known or suspected disabilities “frustrates” PLN’s
22   mission. Dkt. 145, TAC, ¶¶ 185; Dkt. 163, Mercado Decl., ¶ 11.
23           PLN estimates that “at least twenty members” have been “affected” by the
24   District’s failure to timely locate, identify and assess students. Dkt. 145, TAC, ¶ 191;
25   Dkt. 163, Mercado Decl., ¶ 17. Despite this allegation, Plaintiffs fail to identify at least
26   one PLN member whom the District has failed to identify, locate, and assess.
27   ///
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 1      III.    ARGUMENT
 2         A.      The class representatives who have been located, identified, and
 3                 assessed do not have standing to seek prospective injunctive relief on
 4                 behalf of students who have not been located, identified, and assessed.
 5         Class representatives must show that they “suffered or (are) threatened with a
 6   concrete and particularized legal harm” and that there is “a sufficient likelihood that
 7   (they) will again be wronged in a similar way.” Bates v. United Parcel Serv., Inc., 511
 8   F.3d 974, 985 (9th Cir. 2007).
 9         Class representatives “lack standing to sue for injunctive relief from which (they)
10   would not likely benefit.” Walsh v. Nev. Dept. of Human Res., 471 F.3d 1033, 1037 (9th
11   Cir. 2006). “In a class action, standing is satisfied if at least one named plaintiff meets
12   the requirements.” Bates, 511 F.3d at 985 (citing Armstrong v. Davis, 275 F.3d 849, 860
13   (9th Cir. 2001), abrogated on other grounds by Johnson v. California, 543 U.S. 499
14   (2005). However, Article III standing must be demonstrated at every successive stage of
15   the litigation. Chapman v. Pier 1 Imports (U.S.) Inc., 631 F.3d 939, 954 (9th Cir. 2011)
16   (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 561, 112 S.Ct. 2130 (1997). “[I]f
17   none of the named plaintiffs purporting to represent a class establishes the requisite of a
18   case or controversy with defendants, none may seek relief on behalf of himself or any
19   other member of the class.” O’Shea v. Littleton, 414 U.S. 488, 494 (1974). The doctrine
20   of standing insists on a relationship between a plaintiff’s individual harm and the scope of
21   the claims that the plaintiff seeks to litigate. Newberg on Class Actions § 2.6 (5th Ed.
22   2018). The scope of harm defines the contours of Plaintiffs’ standing and hence the
23   claims. Id.
24         The scope of the class representatives’ harm in this case is different from the harm
25   alleged on behalf of class members not yet found. Indeed, whether the District fails to
26   identify, locate, and assess students in the first place or whether the District’s CST/SST
27   process creates a delay in assessments are harms distinct from whether the District should
28   have assessed an individual student for a disability but did not, or whether the District

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 1   should have found a student eligible for special education services after an assessment,
 2   but did not. The class claims involve the former harms, while the class representatives
 3   allege the latter harms as their injuries in fact.
 4          Class representatives lack standing to represent a class when the relief sought by
 5   the class fails to redress the class representatives’ injuries in fact. In Lewis v. Casey, 518
 6   U.S. 343 (1996), the United States Supreme Court overturned a systemwide injunction
 7   against the Arizona Department of Corrections (“ADOC”) because the injunction was
 8   overbroad and provided a systemwide remedy beyond the necessary relief for the two
 9   class representatives. Lewis, 518 U.S. at 360. Two class representatives asserted class
10   claims on behalf of Arizona prisoners alleging that ADOC denied them services to assist
11   them in accessing the courts. Id. at 346-347. After a three-month bench trial, the district
12   court found actual injury on the part of only one named Plaintiff who was illiterate. Id. at
13   358. This notwithstanding, the District Court ultimately adopted a 25-page injunctive
14   order mandating sweeping systemic changes to ensure that ADOC “provided meaningful
15   access to the Courts for all present and future prisoners.” Id. at 347 (emphasis added).
16   Indeed, the injunction granted relief to all prisoners, including prisoners who were on
17   lockdown and prisoners who did not speak English, even though no class representative
18   suffered an injury in fact for being in lockdown or because they did not speak English.
19          Upon review, the United States Supreme Court addressed whether the class
20   representatives’ injuries supported the sweeping systemic injunction in the case. Id. at
21   357. Writing for the majority, Justice Scalia held that the class representatives did not
22   have standing to request relief for class members who were on lockdown or who did not
23   speak English. The Court reasoned that:
24          “The actual-injury requirement would hardly serve the purpose… of
25          preventing courts from undertaking tasks assigned to the political
26          branches… if once a plaintiff demonstrated harm from one particular
27          inadequacy in government administration, the court were authorized to
28          remedy all inadequacies in that administration. The remedy must of course

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 1         be limited to the inadequacy that produced the injury in fact that the plaintiff
 2         has established. This is no less true with respect to class actions than with
 3         respect to other suits. That a suit may be a class action… adds nothing to the
 4         question of standing, for even named plaintiffs who represent a class must
 5         show that they personally have been injured, not that injury has been
 6         suffered by other, unidentified members of the class to which they belong
 7         and which they purport to represent.”
 8   Id. at 358. Accordingly, the Court dispensed from the injunction’s scope any provisions
 9   related to special services or special facilities required by non-English speakers, prisoners
10   on lockdown, and by the inmate population at large. Id. The Court also ultimately
11   determined that system-wide relief was improper because the class representatives’
12   injuries failed to establish any systemwide constitutional violations. Id. at 360.
13         As in Lewis, the class representatives’ alleged injuries in this case fail to support
14   Plaintiffs’ claims for prospective systemic injunctive relief. The imminent injuries
15   alleged by the class representatives involve injuries they allegedly suffered after they
16   were “found.” Their remedy must be limited to the inadequacy that produced these
17   injuries in fact. The inadequacies that produced these injuries in fact are limited to the
18   District allegedly assessing the class representatives for some but not all known or
19   suspected disabilities or improperly finding that some class representatives are not
20   eligible for special education services after assessing them. Like the class representatives
21   in Lewis, the class representatives here have no standing to pursue broader systemic
22   injunctive relief related to the District’s “child find” policies because they cannot show
23   that they suffer an imminent injury of not being “found” and cannot show that they will
24   be injured by the District’s failure to identify, locate and assess them in the future. Since
25   the class representatives have been found, they have no standing to seek relief on behalf
26   of the class of students who have yet to be found.
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 1         Finally, the class representatives’ lack of Article III standing is fatal to all class
 2   claims, including class claims they assert under the Americans with Disabilities Act and
 3   Section 504 of the Rehabilitation Act.1
 4         B.     Plaintiffs rely on cases that do not address Article III standing for class
 5                representatives.
 6         Plaintiffs argue that the named class representatives have standing to assert claims
 7   on behalf of the class because they have at least one disability that the District has failed
 8   to “find.” Plaintiffs do not dispute that all class representatives are currently receiving
 9   special education services. However, Plaintiffs argue that the class representatives have
10   not been “fully found” in all areas of known or suspected disabilities.
11         Plaintiffs rely on Timothy O. v. Paso Robles Unified Sch. Dist., 822 F.3d 1105 (9th
12   Cir. 2016) and L.J. v. Pittsburg Unified Sch. Dist., 850 F.3d 996 (9th Cir. 2017). Both
13   cases are inapposite. Neither case involved class claims, a discussion of Article III
14   standing, or a discussion regarding class representatives sharing the same injuries as
15   members of a class. These cases do not support a finding that class representatives who
16   have “found” will likely suffer from the future harm they seek to enjoin: the District’s
17   failure to identify, locate and assess the larger class of students. See Bates, 511 F.3d 974
18   at 985; Walsh, 471 F.3d at 1037.
19         Plaintiffs attempt to overcome this glaring pleading deficiency by repeating their
20   argument that class representatives have standing because the District waited years to
21   identify, locate, and assess them. However, past harm does not entitle the class
22   representatives to prospective injunctive relief. Gatore v. United States Dep’t of
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       Plaintiffs argue that the court should deny Defendants’ motion because Defendants fail
25   to “address” their ADA or Section 504 claims. Although Plaintiffs seek relief under the
     ADA and Section 504, the alleged injuries that form the basis for the relief derive from
26   Plaintiffs’ allegations that the District violated the IDEA’s “child find” provisions.
27   Accordingly, if the class representatives lack standing to challenge the District’s child
     find policies under the IDEA, they also lack standing to assert their claims based on the
28   same alleged injuries-in-fact under the ADA and Section 504.

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 1   Homeland Sec., 327 F. Supp. 3d 76, 104 (D.D.C. 2018) (citing, Nat’l Sec. Counselors v.
 2   C.I.A., 898 F. Supp. 2d 233, 253 (D.D.C. 2012)).
 3         Plaintiffs also argue, without success, that they have standing because their
 4   individual injuries are a consequence of the District’s alleged systemic child find
 5   problem. This argument also fails. To have standing, Plaintiffs must identify at least one
 6   class representative who has not been identified, located, and assessed to represent the
 7   class of students that Plaintiffs claim have yet to be found. Bates, 511 F.3d at 985 (citing
 8   Armstrong, 275 F.3d at 860.)
 9         Despite representing that at least 200 potential class representatives exist, Plaintiffs
10   fail to meet their burden of identifying at least one individual class representative with
11   standing to assert claims on behalf of the class.
12         C.     PLN cannot be a class representative because it does not allege facts to
13                show that it suffered a direct injury caused by the District’s child find
14                policies.
15         Plaintiffs argue that PLN has direct standing to assert the class claims because the
16   District’s child find policy has caused PLN injury.
17         To demonstrate Article III standing, PLN like any other plaintiff must show a
18   “concrete and particularized” injury that is “fairly traceable” to the District’s conduct and
19   “that is likely to be redressed by a favorable judicial decision.” East Bay Sanctuary
20   Covenant v. Trump, --- F.3d ----, 2018 WL 6428204 (9th Cir. 2018) (citing Spokeo, Inc.
21   v. Robins, -- U.S. --, 136 S. Ct. 1540, 1547-48, 194 L. Ed. 2d 635 (2016) (quoting Lujan,
22   504 U.S. at 560.) Organizations can demonstrate organizational standing by showing that
23   the challenged “practices have perceptibly impaired (their) ability to provide the services
24   (they were) formed to provide.” Id. at *10 (citing El Rescate Legal Servs., Inc. v. Exec.
25   Office of Immigration Review, 959 F.2d 742, 748 (9th Cir. 1991) (quoting Havens Realty
26   Corp. v. Coleman, 455 U.S. 363, 379, 102 S.Ct. 1114, 71 L.Ed. 2d 214 (1982).)
27         Courts have recognized direct organizational standing when an organization
28   alleges that a policy or practice results in a drain on the organization’s resources that

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 1   constitutes more than simply a setback to the organization’s abstract social interests. Id.
 2   (citing Havens Realty, 455 U.S. at 379). For example, Courts recognize direct
 3   organizational standing when an organization pleads facts alleging that the challenged
 4   policy or practice required the organization to divert its resources from its other
 5   initiatives. Id. (citing to El Rescate Legal Servs., Inc. v. Exec. Office of Immigration
 6   Review, 959 F.2d 742, 748 (9th Cir. 1991); see also Valle del Sol, Inc. v. Whiting, 732
 7   F.3d 1006, 1018 (9th Cir. 2013) (finding organizational standing where the plaintiffs
 8   “had to divert resources to educational programs to address its members’ and volunteers’
 9   concerns about the (challenged) law’s effect”); Fair Hous. Council of San Fernando
10   Valley v. Roommate.com, LLC., 666 F.3d 1216, 1219 (9th Cir. 2012) (finding
11   organizational standing where the plaintiff responded to allegations of discrimination by
12   “starting new educational and outreach campaigns targeted at discriminatory roommate
13   advertising”). Court’s also find direct organizational standing where the organization can
14   demonstrate that the challenged policy or practice will cause it to lose a substantial
15   amount of funding. Id. at *12 (citing Czyzewski v. Jevic Holding Corp., -- U.S. --, 137 S.
16   Ct. 973, 983, 197 L. Ed. 2d 398 (2017).) In contrast, organizations like PLN identify its
17   advocacy efforts or the fulfillment of its core mission as the injury-in-fact lack standing.
18   Id. at *11 (citing Fair Hous. Council, 666 F.3d at 1226 (Ikuta, J. dissenting).)
19         Plaintiffs fail to allege any facts regarding PLN suffering a diversion of resources
20   due to the District’s alleged failure to timely identify, locate, and assess students with
21   known or suspected disabilities. Plaintiffs also fail to allege any facts regarding PLN’s
22   funding or that PLN will lose funding due to the District’s child find policies.2
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      In support of their renewed motion for class certification, scheduled for hearing on the
26   same day as this motion to dismiss, Plaintiffs filed the declaration of Claudia Mercado
27   (“Mercado”), the purported “founder” of PLN. Mercado’s declaration failed to offer any
     evidence regarding PLN’s specific programs, PLN’s funding, or whether it suffered a
28   diversion of resources. See Dkt. 163, Mercado Decl.

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 1            PLN was formed to provide parents with “educational information regarding their
 2   rights as well as the procedures for filing complaints on a variety of issues, including
 3   special education, language access, and school conditions’ issues.” Dkt. 145, TAC, ¶ 27;
 4   Dkt. 163, Mercado Decl., ¶ 4. Its central mission is to “ensure that children in the District
 5   have appropriate educational services.” Dkt. 145, TAC, ¶ 185; Dkt. 163, Mercado Decl.,
 6   ¶ 11. As part of its mission, PLN responds to parent questions and complaints, seeks
 7   referrals and options for advocacy regarding the District’s child find policy, issues public
 8   records requests to obtain information regarding the District’s child find policy, and hosts
 9   events to connect advocates with District parents. Dkt. 145, TAC, ¶¶ 186-189; Dkt. 163,
10   Mercado Decl., ¶ 13-15.
11            Per Plaintiffs’ allegations, advancing the District’s compliance with the IDEA’s
12   child find requirement is part of PLN’s core purpose. PLN’s mission is therefore not
13   hampered, and the organization suffers no injury, by advocating that the District timely
14   identify, locate, and assess students or by introducing its members to legal advocates for
15   additional assistance related their child find rights. See Fair Hous. Council, 666 F.3d at
16   1226 (Ikuta, J. dissenting). Indeed, Plaintiffs’ allege that PLN was formed to “help
17   parents with children with disabilities and/or difficulties learning English understand their
18   rights and how to advocate for their children in light of the District’s failure to address
19   the needs of such students.” Dkt. 145, TAC, ¶ 17. This concession, apparent on the face
20   of the complaint, merely alleges PLN’s core mission rather than an injury-in-fact
21   sufficient for standing to represent the class.
22            PLN does not have direct organizational standing to assert claims on behalf of the
23   class.
24            D.    PLN lacks standing to represent the class on behalf of its members
25                  because it fails to meet all factors of Hunt v. Washington Apple.
26            Plaintiffs also allege that PLN has standing to represent its members as
27   representatives of the class. However, PLN fails to allege facts sufficient to show that its
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 1   members have standing to sue in their own right and that it can assert the class claims
 2   without the participation of its individual members. Hunt, 432 U.S. 333.
 3         PLN was formed to provide advocacy, education, and referral to parents of special
 4   needs students within the District. Although PLN allegedly serves only 15-20 members
 5   at any given time, Plaintiffs identify only two members – M.Y. and H.V. – who they
 6   claim have been affected by the District’s “child find policies.” Plaintiffs concede that
 7   these members have been identified, located, assessed, and found. They have no standing
 8   to assert claims on behalf of a class of students who have not been identified, located, and
 9   assessed. Since Plaintiffs fail to allege that PLN members have standing to challenge the
10   District’s “child find” policies, PLN cannot meet the first Hunt factor.
11         PLN also fails to meet the third factor: the participation of PLN members is
12   necessary to this litigation. In cases where an association's declaratory relief claim
13   involves more than just pure legal issues, requiring factual inquiry, the Ninth Circuit has
14   held that the association lacked standing. See, e.g., Spinedex Physical Therapy USA Inc.
15   v. United Healthcare of Arizona, Inc., 770 F.3d 1282, 1292 (9th Cir. 2014) (finding that
16   the association lacks standing because the participation of the beneficiaries of a
17   healthcare plan was required).
18         Plaintiffs’ challenge to the District’s “child find” policies do not involve pure
19   questions of law. Indeed paragraph 14 of the TAC highlights the factual distinctions
20   among the individual named Plaintiffs. This paragraph concedes that Plaintiffs “are at
21   different stages of their individual efforts to be identified, evaluated, and provided
22   services.” Moreover, paragraphs 192-193 plead that PLN members have been found but
23   allegedly determined ineligible for special education services.
24         The TAC alleges variations in Plaintiffs’ experiences with securing or obtaining
25   District’s special education services. Because of these multiple variations specific to the
26   individual Plaintiffs, their asserted claims “are not susceptible to judicial treatment as
27   systemic policy violations that… make extensive individual participation unnecessary.”
28   Spinedex, 770 F.3d at 1294.

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 1           E.    Plaintiffs fail to allege a claim upon which class wide injunctive relief
 2                 can be granted.
 3           To obtain class wide injunctive relief, Plaintiffs must prove by a preponderance of
 4   admissible evidence that there are common questions of law or fact common to the class.
 5   Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350, 131 S.Ct.2541, 180 L.Ed. 2d 374
 6   (2011); Parsons v. Ryan, 754 F.3d 657, 674-675 (9th Cir. 2014). Plaintiffs must
 7   demonstrate that the class members have suffered the same injury, and not merely that
 8   they have all suffered a violation of the same law. Id. The class claims must “depend
 9   upon a common contention” that is “of such nature that it is capable of class wide
10   resolution – which means that determination of its truth or falsity will resolve an issue
11   that is central to the validity of each one of the claims in one stroke.” Id. “What matters
12   to class certification is not the raising of common ‘questions’ – even in droves – but
13   rather the capacity of a class wide proceeding to generate common answers apt to drive
14   the resolution of the litigation.” Id.
15           Plaintiffs’ allegations that the class representatives were assessed for some but not
16   all known or suspected disabilities puts at issue the appropriateness of the District’s
17   assessment and eligibility determination for each class representative. L.J. v. Pittsburg
18   Unified, 850 F.3d at 1004. District courts must analyze these challenged eligibility
19   determinations by applying the “snapshot rule:” reviewing the District’s assessments
20   based on information reasonably available to the parties at the time of each student’s IEP
21   meeting. Id. Accordingly, the class representatives’ allegations challenge specific
22   decisions tied to specific students at the time of each students’ IEP. The appropriateness
23   of the class representatives’ assessments cannot be addressed by a single injunction and
24   will not generate “common answers apt to drive the resolution of the litigation.”
25           Defendants respectfully request that this Court dismiss Plaintiffs’ claims for
26   prospective injunctive relief with prejudice.
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 1      IV.   CONCLUSION
 2         For all foregoing reasons, Defendants respectfully request that the Court grant
 3   Defendants’ motion to dismiss.
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 5
     Dated: December 17, 2018              GARCIA HERNANDEZ SAWHNEY, LLP
 6
 7
                                           By:
 8                                                Norma Nava Franklin
 9                                                Attorneys for Defendants
                                                  Oxnard School District, Cesar Morales,
10                                                Ernest Morrison, Debra Cordes,
11                                                Denis O’Leary, Veronica Robles-Solis, and
                                                  Monica Madrigal Lopez
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 1
                                 CERTIFICATE OF SERVICE
 2
 3           The undersigned attorney hereby certifies that on December 17, 2018, I caused a
 4   true and correct copy of the foregoing DEFENDANTS’ REPLY TO PLAINTIFFS’
     OPPOSITION TO NOTICE OF MOTION AND MOTION TO DISMISS
 5   PLAINTIFFS’ THIRD AMENDED COMPLAINT PURSUANT TO FED. R. CIV.
 6   P. 12(b)(1) OR IN THE ALTERNATIVE 12(b)(6); MEMORANDUM OF POINTS
     AND AUTHORITIES IN SUPPORT THEREOF to be electronically filed with the
 7   Clerk of the District Court using the CM/ECF system, which sent notification of such
 8   filing to counsel for all parties.
 9
       Dated: December 17, 2018                  By:          /s/Norma Nava Franklin
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                                    CERTIFICATE OF SERVICE
